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                             UNITED STATES DISTRICT COURT
                                  DISTRICT OF MAINE

UNITED STATES OF AMERICA                     )
                                             )
               v.                            )       Criminal No. 2:18-cr-122-JDL-2
                                             )
DUSTY LEO                                    )

                                     Prosecution Version

       If this case went to trial, the government would introduce evidence to prove beyond a

reasonable doubt that on April 15, 2018, Defendant Dusty Leo committed a racially-motivated

assault, in violation of 18 U.S.C. § 249(a)(1), and that on the same day Defendant Dusty Leo

conspired with his co-defendant, Maurice Diggins, to commit that racially-motivated assault, in

violation of 18 U.S.C. § 371. That evidence would consist of physical evidence, official records,

and testimony of both law enforcement and lay witnesses, and would prove the following facts

beyond a reasonable doubt:

                                    The Old Port Assaults

       1.      Prior to April 14, 2018, Defendant Dusty Leo knew that his uncle and co-

defendant, Maurice Diggins, subscribed to white supremacist views and had a strong dislike of

racial minorities.

       2.      On Saturday, April 14, 2018, the defendants used Defendant Leo’s pick-up truck

to travel to Portland, Maine.

       3.      Just before 1:00 a.m., on Sunday, April 15, 2018, the defendants were on

Commercial Street near the Silver House Tavern, a bar in the Old Port, when Defendant Diggins

began attacking black men. The attacks were unprovoked, and Defendant Diggins used racial

slurs as he was beating the black men. One of the black men that Defendant Diggins attacked

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without provocation was A.N., a Sudanese immigrant. A.N. suffered a broken jaw because of

the assault. Another black man, R.D., was also injured as a result of the unprovoked attacks.

       4.      After assaulting A.N. and R.D., Defendant Diggins attempted to beat another

black man, K.L.

       5.      After the incidents with A.N., R.D., and K.L., the defendants returned to

Defendant Leo’s truck, which was parked on Commercial Street. Defendant Leo, Defendant

Diggins, and Defendant Diggins’s wife got in the truck, and drove back to Biddeford, Maine,

where the three lived at the time.

                                      The Biddeford Attack

       6.      At around 2 a.m., D.M., a black man, was walking up to the entrance of a 7-

Eleven convenience store in Biddeford.

       7.      As D.M. walked towards the 7-Eleven, Defendant Leo’s truck sped into the

store’s parking lot. Defendant Diggins was driving the truck at the time, and Defendant Leo was

in the passenger seat. After the truck came to a stop, Defendant Diggins got out of the truck and

approached D.M. At that point, Defendant Leo heard Defendant Diggins call out at D.M. words

to the effect of: “Who you eyeballin’, Nigger?” As Defendant Diggins continued to speak to

D.M. in this manner, he moved to place himself between D.M. and the entrance to the 7-Eleven.

Then, Defendant Diggins circled D.M., causing D.M. to turn his back to Defendant Leo’s truck.

Once D.M. was between Defendant Diggins and the truck, Defendant Leo got out of the truck,

came around the hood of the car, and sucker-punched D.M. in the jaw. After the punch, D.M.

fled the parking lot. As D.M. fled, Defendant Leo initially followed D.M. on foot. Once D.M.

exited the parking lot, the defendants returned to Defendant Leo’s truck, got in, started the

vehicle, and drove after D.M., while yelling racial slurs.
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       8.      At the time of the assault, the defendants had never spoken to or met D.M. The

unprovoked attack broke D.M.’s jaw in various places.



                                                     Respectfully submitted,

                                                     HALSEY B. FRANK
                                                     UNITED STATES ATTORNEY

                                                     /s/ Sheila W. Sawyer
                                                     SHEILA SAWYER
                                                     Assistant United States Attorney
                                                     100 Middle Street
                                                     Portland, Maine 04101
                                                     207-780-3257
                                                     sheila.sawyer@usdoj.gov

                                                     ERIC S. DREIBAND
                                                     ASSISTANT ATTORNEY GENERAL
                                                     CIVIL RIGHTS DIVISION

                                                     /s/ Timothy Visser
                                                     TIMOTHY VISSER
                                                     Trial Attorney
                                                     U.S. Department of Justice
                                                     Civil Rights Division, Criminal Section
                                                     950 Pennsylvania Avenue, NW
                                                     Washington, DC 20530
                                                     202-353-8175
                                                     timothy.visser@usdoj.gov


                                CERTIFICATE OF SERVICE


       I hereby certify that I filed this document on February 24, 2020, through the ECF system,
which will automatically send notice electronically to the registered participants as identified on
the Notice of Electronic Filing (NEF).

                                                     /s/ Sheila W. Sawyer
                                                     Sheila W. Sawyer
                                                     Assistant United States Attorney

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